Case 2:17-cv-08868-GW-E Document 33-5 Filed 03/22/18 Page 1 of 3 Page ID #:387




                    EXHIBIT A




                     WAKEFIELD REPLY EXHIBIT A PAGE 3
Case 2:17-cv-08868-GW-E Document 33-5 Filed 03/22/18 Page 2 of 3 Page ID #:388




                                  Exhibit C




                     WAKEFIELD REPLY EXHIBIT A PAGE 4
Case 2:17-cv-08868-GW-E Document 33-5 Filed 03/22/18 Page 3 of 3 Page ID #:389

   Case 3:15-cv-00096-BAS-DHB Document 11-5 Filed 02/23/15 PagelD.197 Page 2 of 2



     amazon.com
       '--"'                          SIGtJ N     SHIPPING & PAYMENT             GIF' OPTIONS        PLACE ORDER


    Review your order
    By placing your order, you agree to Amazon.corn's privacy notice and conditions of use.


       Shipping address Change                     Payment method Change                         Gift cards & promotional codes                                  Place your order
                                                     v 1SA   ending in
                                                                                                  Enter Code                 [ Apply     J        Order Summary
                                                   Billing address Change
                                                                                                                                                  ltems(2):                                 $180.20
                                                   Same as shipping address
                                                                                                                                                  Shipping & handling:                        $4.98

       Ship   to multiple addresses                                                                                                               Total before tax:                         $185.18
                                                                                                                                                  Estimated tax to be collected:•             $1 .44

        j@;j 3:flit FREE Two-Day Shipping on Eligible Items:                               , you can save $4.98 on                                Order total:                          $186.62
                               eligible items in this order by signing up for a free trial of Amazon Prime. Look for
                               Items marked " Amazon Prime ellglble" below to see which quallfy.
                               • Sign up for a free trial                                                                                         How are shipping costs calculated?
                                                                                                                                                  Why didn't I qualify for free shipping?
       Items shipped from Amazon.com
       Estimated delivery: Jan. 21, 2015
                         The Boys in the Boat: Nine                         Choose a delivery option:
                         Americans and Their Epic Quest for                 O   FREE Two-Day Shipping with a free trial of
                         Gold at the 1936 Berlin Olympics                        amaz.onPrlm•
                         by Daniel James Brown
                                                                            @ Standard Shipping - get it Wednesday, Jan.
                         $10.20
                                                                                 21
                         Amazon Prime eligible Join now
                         Quantity: 1 Change                                 0   Same-Day Delivery --get it tomorrow, Jan. 16,
                         Sold by: Amazon.com LLC                                 by9pm
                         Add gift options




                        Get a $30 Gift Card instantly
        •
                        upon approval for the Amazon.com Rewards Visa Card.                     Apply now


       Items shipped from Extreme Supply
       Estimated delivery: Jan. 22, 2015 - Jan. 27, 2015
                         Oakley Frogsklns LX Sunglasses •                   Choose a dellvery option:
                         Oakley Adult Polarized Lifestyle                   @ FREE Standard - get it Jan. 22 • 27
                         Authentic Sunglasses · Tortoise
                                                                            0   Expedited -     get it Jan. 20 • 23
                         Blue/Bronze/ One Size Fits All
                         $170.00
                         Quantity: 1 Change
                         Sold by: Extreme Supply
                         Gift options not available.
                                                                                                                                                                 Place your order


    *Why has sales tax been applied? See tax and seller information

    Do you need help? Explore our Help pages or contact us

    For an item sold by Amazon.com: When you dick the "Place your order" button, we'll send you an email message acknowledging receipt of your order. Your contract to purchase an item will not be
    complete until we send you an email notifying you that the item has been shipped.

    Colorado, Oklahoma, South Dakota and Vermont Purchasers: Important information regarding sales tax you may owe in your State

    Within 30 days of delivery, you may return new, unopened merchandise in its original condition. Exceptions and restrictions apply. See Amazon.corn's Returns Policy

    Go to the Amazon.com homepage without completing your order.


                                                                      Conditions of Use I Privacy Notice © 1996·2015, Amazon.com, Inc.




      DECLARATION OF DESERAE WEITMANN                                                               18                                                                           (15cv0096)
                                                                                              Exhibit C


                                                     WAKEFIELD REPLY EXHIBIT A PAGE 5
